'-              Case 3:13-cr-03481-BTM                      Document 478               Filed 12/01/14             PageID.2026             Page 1 of 5
           ~AO 2458 (CASD) (Rev. 4/14)    Judgment in a Criminal Case
                     Sheet 1




                                                   UNITED STATES DISTRICT COURT
                                                        SOUTHERN DISTRICT OF CALIFORNIA
                          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                              v.                                         (For Offenses Committed On or After November I, 1987)

                               SEDRAK MOVSESYAN [15]                                     Case Number: 13CR3481-BTM
                                                                                         AZAD JINGOZIAN
                                                                                         Defendant's Attorney
          REGISTRATION NO. 48406048
          o
          THE DEFENDANT:
          181 pleaded guilty to count(s) ..:I....:O:.:F_T.:..H=E..:IN..:D~IC:..T..:M..:E::.N..:.:..T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          o was found guilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                after a plea of not guilty.
                Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                  Couut
         Title & Section                      Nature of Offense                                                                                  Number(s)
     18 USC 1349                           CONSPIRACY TO COMMIT BANK FRAUD                                                                              I




             The defendant is sentenced as provided in pages 2 through 5                       of this judgment. The sentence is imposed pursuant
      o
      to the Sentencing Reform Act of 1984.
           The defendant has been found not guilty on count(s)
           Count(s)                                               ------0---0------------
      O             _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is          are dismissed on the motion of the United States.
      r8I Assessment: $100 To be paid within 6 Months of commencement of Supervised Release.

      181 Fine waived                                    o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
            IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
      or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
      defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances,
                                                                                    NOVEMBER 21,2014




                                                                                   UNITED STATES DISTRICT JUDGE


                                                                                                                                                   13CR3481-BTM
'I,
            Case 3:13-cr-03481-BTM                      Document 478            Filed 12/01/14          PageID.2027            Page 2 of 5
      AO 245B (CASD) (Rev. 4114)    Judgment in a Criminal Case
                    Sheet 2 - Imprisonment

                                                                                                           Judgment -   Page _...::2~ of     5
       DEFENDANT: SEDRAK MOVSESYAN [15]
       CASE NUMBER: 13CR3481-BTM
                                                                    IMPRISONMENT
               The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
               SIX (6) MONTHS.



           o
           o
               Sentence imposed pursuant to Title 8 USC Section 1326(b).
               The court makes the following recommendations to the Bureau of Prisons:
                                                                                                        ~re~~
                                                                                                        BARRY TE MOSKO ITZ
                                                                                                        UNITED STATES DISTRICT JUDGE




           o   The defendant is remanded to the custody of the United States Marshal.

           o   The defendant shall surrender to the United States Marshal for this district:
                 D at                                      Da.m.      Dp.m.        on
                       as notified by the United States Marshal.

           181 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                181 before 12:00 P.M. on 2113/2015 or to this Court on that same date by 2:00 P.M.
                D      as notified by the United States Marshal.
                D      as notified by the Probation or Pretrial Services Office.


                                                                         RETURN
      I have executed this judgment as follows:

               Defendant delivered on                                                        to

      at                                                      with a certified copy of this judgment.


                                                                                                         UNITED STATES MARSHAL


                                                                               By ________~~~~~~~~~~--------
                                                                                                   DEPUTY UNITED STATES MARSHAL




                                                                                                                                    13CR3481-BTM
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             Case 3:13-cr-03481-BTM                    Document 478              Filed 12/01/14            PageID.2028             Page 3 of 5
     AD 245B (CASD) (Rev.4114) Judgment in a Criminal Case
                Sheet 3 - Supervised Release
                                                                                                                    Judgment Page _",,"3_ of             5
     DEFENDANT: SEDRAK MOVSESYAN [15]                                                                      a
     CASE NUMBER: 13CR3481-BTM
                                                               SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shalt be on supervised release for a term of:
     THREE (3) YEARS.

              The defendant shalt report to the probation office in the district to which the defendant is released within 72 hours of release from
     the custody of the Bureau of Prisons.
     The defendant shall not commit another federal, state or local crime.
     For offenses committed all OJ' after September 13, 1994:
     The defendant shall not il1egally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
     substance. The defendant shaH submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter as determined by the court. Testing requirements will not exceed submission of more than 2 drug tests per month during
     the term of supervision, unless otherwise ordered by court.                                          --

     o      The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)
            The defendant shalt not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
            Backlog Elimination Act of2000,pursuant to 18 USC sections 3563(a)(7) and 3583(d).
            The defundant shall comply with me requirements ofthe Sex Offender Registration and Notification Act (42 U.s.c. § 1690 I, et seq.) as directed
            by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
            was convicted of a qualitying offense. (Check if applicable.)
     o      The defendant shalt participate in an approved program for domestic violence. (Check, if applicable.)
               If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
     or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
     forth in this judgment.
              The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also com ply with
     any special conditions imposed.

                                            ST ANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)     the defendant shalt report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)     the defendant shall support his or her dependents and meet other family responsibilities;
      5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooJing, training, or other
             acceptable reasons;
      6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)     the defendant shall refrain from excessive use of alcohol and shalt not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shalt not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)     the defendant shall not associate with any' persons engaged in criminal activity and shall not associate with any person convicted of
             a felony, unless granted permission to do so by the probation officer;                                              .
     10)     the defendant shalt permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
     11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and
     13)     as directed by the probation officer, the defendant shall notity third parties of risks that may be occasioned by the defendant's criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant's compliance with such notification requirement.

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        AD 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                    Sheet 4 -   Special Conditions
                                                                                                         Judgment-Page   ----i...- of _ _5,,-_ _
        DEFENDANT: SEDRAK MOVSESYAN [15]
        CASE NUMBER: 13CR3481-BTM




                                                 SPECIAL CONDITIONS OF SUPERVISION
15(1 Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
IQJ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant te
    this condition.

D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and 1 to 8
    counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
181 Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written pelmission ofthe COUll or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Remain in your place of residence for a period of 60 days, except while working at verifiable employment, attending religious services, or
    undergoing medical treatment or any such other reasons approved by the probation officer. The defendant shall be subject to electronic
    monitoring with the fees for electronic monitoring waived.



181 Make restitution to the Bank of America in the amount of$3,378.73, to be paid in installments of $200.00 per month.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening bank or credit card accounts or incurring new credit charges or opening additional lines of credit without
    approval of the probation officer.
181 Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within           days.
D Complete 240 hours of community service in a program approved by the probation officer within 18 months.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision arc
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.

181 The defendant shall notify the Collections Unit,United States Attorney's Office within 10 days,of obtaining any interest in propelly,
    directly or indirectly, valued at $1,000 or more inchldingany interest obtained under any other name, or entity, including a trust, partnership,
    or corporation until restitution is paid in fulL The;defendant shallllotifY the Collections Unit, United States Attorney's Office within 10
    days, before transferring any interest in propertY;yaliied at $1,000 ormbreowned directly or ili.direcnYliy the Defendant, including any
    interest held or owned under any other name or entity, including a trust, partnership, and/or corporations.




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         Case 3:13-cr-03481-BTM         Document 478        Filed 12/01/14      PageID.2030        Page 5 of 5
 AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

      DEFENDANT:           ASHOTMNATSAKANYAN [14]                                              Judgment - Page 5 of 5
      CASE NUMBER:         13CR3481-BTM

                                             RESTITUTION


  The defendant shall pay restitution in the amount of $3,378.73                unto the United States of America.
  For the benefit of Bank of America through the Clerk of Court




  This sum shall be due immediately. And shall be paid as follows: Defendant shall pay restitution in
  installments in the amount of $200 per month.




  The Court has determined that the defendant    does not     have the ability to pay interest. It is ordered that:
        The interest requirement is waived




                                                                                                        13CR3481-BTM
